Case 6:13-cv-00387-RFD-PJH Document 14 Filed 03/28/13 Page 1 of 2 PagelD #: 225

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF LOUISIANA

ACCIDENT INSURANCE COMPANY, INC. CIVIL ACTION NO.: 6:13-cv-387
V. JUDGE DOHERTY
BENJAMIN B. BLANCHET, ET. AL. MAGISTRATE HANNA

 

MOTION TO DISMISS OR ALTERNATIVELY,
MOTION TO STAY ACTION

NOW INTO COURT, through undersigned counsel, come Henry A.. Boudreaux, Jr.
(hereinafter “Boudreaux’) and HSB Design and Contractors, LLC (hereinafter “HSB”) and
pursuant to Rule 12(b), Federai Rules of Civil Procedure, move to dismiss this Declaratory
Judgment action in favor of the actual controversy between the parties now pending in the
Fifteenth Judicia! District Court, Parish of Vermilion, State of Louisiana, in the matter
entitled: Benjamin B. Blanchet and Anne B. Blanchet v. Henry A.. Boudreaux, Jr. and HSB
Design and Contractors, LLC, Docket No.: C-96178.

Plaintiff's complaint should be dismissed because plaintiff cannot meet the essential
elements for declaratory relief under the Declaratory Judgment Act, 28 U.S.C.A. §2201,
and fails to state a claim on which relief can be granted. Plaintiff can assert in the litigation
between the parties that is pending in the above described state court action all of the
issues on which it seeks either declaratory or affirmative relief in this court. As a result,
plaintiffs declaratory compiaint fails to state a claim for relief under the Declaratory
Judgment Act, 28 U.S.C.A. §2201.

Alternatively, Henry A.. Boudreaux, Jr. and HSB Design and Contractors, LLC move

that this Court stay all proceedings in this action pending the final judgment of the
Case 6:13-cv-00387-RFD-PJH Document 14 Filed 03/28/13 Page 2 of 2 PagelD #: 226

Benjamin B. Blanchet and Anne B. Blanchet v. Henry A.. Boudreaux, Jr. and HSB Design
and Contractors, LLC, Docket No.: C-96178.

Henry A.. Boudreaux, Jr. and HSB Design and Contractors, LLC request that this
Court abstain from exercising its jurisdiction over the matter pursuant to the Brillhart
Discretionary Abstention Doctrine. Brillhart v. Excess Ins. Co. of America, 316 U.S. 491
(1942).

The above and foregoing Motion to Dismiss or Alternatively, Motion to Stay Action
is brought on the further grounds stated and contained in the accompanying Memorandum
in Support of Motion to Dismiss or Alternatively, Motion to Stay Action.

AND FOR ALL GENERAL AND EQUITABLE RELIEF, ETC.

Respectfully submitted:

DAVIDSON, MEAUX, SONNIER,
McELLIGOTT, FONTENOT, GIDEON & EDWARDS

 

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Attorneys for: Henry A.. Boudreaux, Jr. and HSB Design
and Contractors, LLC

CERTIFICATE ee SERVICE

| HEREBY CERTIFY that on the 26% day of wr _, 2013, a copy of the

foregoing was filed electronically with the Clerk of oe /ECF system.
KYLE L. GIDEON )

 
